            Case 3:20-cv-05669-TKW-HTC Document 1 Filed 07/22/20 Page 1 of 8



                              DUNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA

                                             CASE NO.

  ALYSON KOESTLER,

            Plaintiff,

  v.

  RUDRAKSHA, LLC, a Florida limited liability
  company d/b/a RACEWAY GAS, and VISHAL
  PATEL,

        Defendants.
  ______________________________________/

                 COMPLAINT FOR DAMAGES AND JURY TRIAL DEMANDED

            Plaintiff, ALYSON KOESTLER, (“KOESTLER”), by and through her undersigned

  attorney, files this, her Complaint for Damages against Defendants, RUDRAKSHA, LLC, a

  Florida limited liability company d/b/a RACEWAY GAS, (hereinafter “RACEWAY”), and

  VISHAL PATEL, (hereinafter ‘PATEL”), and states as follows:

                                         INTRODUCTION

       1. This is an action to recover unpaid overtime and minimum wage compensation under the

 Fair Labor Standards Act, as amended, 29 U.S.C. § 201 et. seq, (hereinafter “FLSA”); and,

 minimum wages under the Florida Minimum Wage Amendment, Article X, §24 of the Florida

 Constitution.

                                         JURISDICTION


       2.   This Court has jurisdiction over this controversy pursuant to 29 U.S.C. §216(b) and 28

U.S.C. §1331. At all times pertinent to this Complaint, the Defendant, RACEWAY, was an

enterprise engaged in interstate commerce, respectively. At all times pertinent to this Complaint,
            Case 3:20-cv-05669-TKW-HTC Document 1 Filed 07/22/20 Page 2 of 8



RACEWAY regularly owned and operated a business enterprise, engaged in commerce or in the

production of goods for commerce as defined in §3(r) and 3(s) of the FLSA, 29 U.S.C. §203(r) and

203(s).

       3.   The Defendants operated a gasoline station and convenience store. Plaintiff’s work at

the gasoline station involved handling on a regular and recurrent basis “goods” or “materials,” as

defined by the FLSA, which were used commercially in Defendants’ business, and moved in

interstate commerce. These materials included office gasoline, automotive supplies, food and drink

and other materials necessary for the operation of a gasoline station and convenience store—and,

which were also manufactured outside the State of Florida.

       4.   During the relevant time period, the Defendants employed at least two other individuals

besides the Plaintiff, who were “engaged in commerce or in the production of goods for

commerce,” or “had employees handling, selling or otherwise working on goods or materials that

have been moved in or produced for commerce by any person,” as defined in 29 U.S.C.

§203(s)(1)(A)(i). These materials included office gasoline, automotive supplies, food and drink and

other materials necessary for the operation of a gasoline station and convenience store—most of

which was manufactured outside the State of Florida.

       5.   Upon information and belief, during the period of the Plaintiff’s employment, the

Defendants’ enterprise had an annual gross volume of sales made or business done of not less than

five hundred thousand dollars in accordance with §203(s)(1)(A)(ii).

       6.   The Defendants are subject to the jurisdiction of this Court because they engage in

substantial and not isolated activity within the Northern District of Florida.

       7.   The Defendants are also subject to the jurisdiction of this Court because they operate,

conduct, engage in, and/or carry on business in the Northern of Florida.
             Case 3:20-cv-05669-TKW-HTC Document 1 Filed 07/22/20 Page 3 of 8



                                                  VENUE

        8.   The venue of this Court over this controversy is based upon the following:


                   a.      The unlawful employment practices alleged below occurred and/or were

                           committed in the Northern District of Florida

                           and,

                   b.      Defendants were and continue to be a corporation and an individual doing

                           business within this judicial district.

                                                 PARTIES

        9.   At all times material hereto, Plaintiff, KOESTLER was a resident of Pensacola,

Escambia County, Florida, and was an “employee” of the Defendants within the meaning of the

FLSA.

        10. At all times material hereto, the Defendants were conducting business in Pensacola,

Escambia County, Florida.

        11. At all times material hereto, Defendants were the employers of Plaintiff, KOESTLER.

        12. At all times material hereto, Defendants were and continue to be “employer[s]” within

the meaning of the FLSA, the Florida Minimum Wage Amendment (FMWA), Article X, §24 of the

Florida Constitution.

        13. At all times material hereto, Defendants failed to pay Plaintiff, KOESTLER wages in

conformance with the FLSA.

        14. Defendants committed a willful, malicious and unlawful violation of the FLSA and,

therefore, are liable for monetary damages.

        15. At all times material hereto, corporate Defendant, RACEWAY was an “enterprise

engaged in commerce” within the meaning of the FLSA.
            Case 3:20-cv-05669-TKW-HTC Document 1 Filed 07/22/20 Page 4 of 8



      16. At all times material hereto, the work performed by Plaintiff was directly essential to the

business performed by Defendants.

      17. Plaintiff has fulfilled all conditions precedent to the institution of this action and/or such

conditions have been waived.

                                      STATEMENT OF FACTS

      18. Commencing on or about September 25, 2019, Plaintiff, KOESTLER was hired by the

Defendants to work at the Defendants’ gasoline station and convenience store as a cashier. Her

employment ended on or about February 1, 2020.

      19.     Plaintiff, KOESTLER was generally paid an hourly wage of $8.50 per hour, which

was eventually increased to $9.00 per hour.

      20. During Plaintiff, KOESTLER’s employment, Defendants failed to pay the Plaintiff at or

above the applicable minimum wage for some of her hours worked.

      21. In addition, Plaintiff, KOESTLER worked in excess of forty hours per week.

Defendants failed to pay her at the rate of time-and-one-half times the applicable minimum wage.

      22. Defendants knowingly, willfully and maliciously operated their business with a policy of

not paying minimum and overtime wages, respectively, for each and every hour worked by Plaintiff

in conformance with the applicable law.

      23. Defendant, PATEL was a supervisor and manager/owner who was involved in the day-

to-day operations and/ or was directly responsible for the supervision of Plaintiff. Therefore, he is

personally liable for the FLSA violations.

      24. Defendant, PATEL was directly involved in decisions affecting employee compensation

and/or hours worked by Plaintiff.
          Case 3:20-cv-05669-TKW-HTC Document 1 Filed 07/22/20 Page 5 of 8



       25. Plaintiff has retained Bober & Bober, P.A. to represent her in this litigation and has

agreed to pay the firm a reasonable fee for its services.

                                      STATEMENT OF CLAIM:

                                                COUNT I

                     VIOLATION OF 29 U.S.C. § 207 (UNPAID OVERTIME)

       26. Plaintiff, KOESTLER realleges Paragraphs 1 through 26 as if fully stated herein.

       27. Since Plaintiff’s date of hire with Defendants, in addition to Plaintiff’s normal regular

work week, the Plaintiff worked additional hours in excess of forty (40) per week for which she was

not compensated at the statutory rate of time and one-half.

       28. Plaintiff was entitled to be paid at the rate of time and one-half for her hours worked in

excess of the maximum hours provided for in the FLSA.

       29. Defendants failed to pay Plaintiff overtime compensation in the lawful amount for hours

worked by Plaintiff in excess of the maximum hours provided for in the FLSA.

       30. Defendants knew of and/or showed a willful disregard for the provisions of the FLSA as

evidenced by their failure to compensate Plaintiff at the statutory rate of time and one-half for the

hours worked in excess of forty (40) hours per week when it knew or should have known such was

due. Defendants also failed to properly disclose or apprise Plaintiff of her rights under the FLSA.

       31. As a direct and proximate result of Defendants’ willful disregard of the FLSA, Plaintiff

is entitled to liquidated damages pursuant to the FLSA.

       32. Due to the willful, malicious and unlawful acts of Defendants, Plaintiff has suffered

damages in the amount not presently ascertainable of unpaid overtime wages, plus an equal amount

as liquidated damages her reasonable attorney’s fees and costs pursuant to 29 U.S.C. § 216(b).
           Case 3:20-cv-05669-TKW-HTC Document 1 Filed 07/22/20 Page 6 of 8



           WHEREFORE, Plaintiff respectfully requests that judgment be entered in her favor

   against the Defendants:

           a.       Declaring that the Defendants have violated the maximum hour provisions of 29

                    U.S.C. § 207;

           b.       Awarding Plaintiff overtime compensation in the amount calculated ($15,347.75);

           c.       Awarding Plaintiff liquidated damages;

           d.       Awarding Plaintiff reasonable attorney’s fees and costs and expenses of this

                    litigation pursuant to 29 U.S.C. § 216(b);

           e.       Awarding Plaintiff post-judgment interest; and

           f.       Ordering any other and further relief this Court deems to be just.



                                                  COUNT lI

                       VIOLATION OF 29 U.S.C. § 206 (UNPAID MINIMUM WAGES)

       33. Plaintiff realleges Paragraphs 1 through 27 of this Complaint as if fully set forth herein.

       34. Plaintiff’s employment with Defendants was to consist of a normal workweek for which

she was to be compensated at or above the FLSA minimum wage.

       35. 29 U.S.C. § 206 and requires that any employee covered by the FLSA be paid their

minimum wages.

       36. During Plaintiff’s employment, Defendants paid her less than the statutory minimum

wage for hours worked on December 21, 2019. Indeed, she received no wages at all for the 12

hours she worked on December 21, 2019

       37. The Defendants acted willfully and maliciously in failing to pay proper minimum wages

to the Plaintiff.
            Case 3:20-cv-05669-TKW-HTC Document 1 Filed 07/22/20 Page 7 of 8



        38. As a direct and proximate result of Defendants’ willful violation of the FLSA, Plaintiff is

entitled to liquidated damages pursuant to the FLSA.

            WHEREFORE, Plaintiff respectfully requests:

            a.     judgment in her favor for all unpaid minimum wages due for 2018 through 2019

                   as calculated above;

            b.     liquidated damages;

            c.     attorneys’ fees and costs pursuant to the FLSA;

            d.     post-judgment interest; and

            e.     all other and further relief this Court deems to be just and proper.

                                                 COUNT III

                 VIOLATION OF ARTICLE X, § 24, FLORIDA CONSTITUTION

        39. Plaintiff, KOESTLER realleges Paragraphs 1 through 27 as if fully stated herein.

        40. Pursuant to Article X, Section 24 of the Florida Constitution, Defendants were required

to pay Plaintiff at least the applicable Florida minimum wage.

        41. During Plaintiff’s employment, Defendants paid her less than the statutory minimum

wage for about 12 of her work hours. The Defendants failed to pay the Plaintiff anything for those

12 hours.

        42. The Defendants acted willfully and maliciously in paying Plaintiff below the minimum

wage.

            WHEREFORE, Plaintiff respectfully requests that judgment be entered in her favor

   against the Defendants:

            a.     Declaring that Defendants violated Article X of the Florida Constitution, insofar

                   as failing to pay Plaintiff at or above the minimum wage;
      Case 3:20-cv-05669-TKW-HTC Document 1 Filed 07/22/20 Page 8 of 8



       b.      Awarding Plaintiff all back wages due and owing in the amount calculated above;

       c.      Awarding Plaintiff liquidated damages in the amount equal to her back wages;

       d.      Awarding Plaintiff reasonable attorney’s fees and costs and expenses of this

               litigation pursuant to Article X, Sec. 24, Fla. Const.;

       e.      Awarding Plaintiff prejudgment and post-judgment interest;

       f.      Finding that Defendants willfully violated Article X Fla. Const., and ordering

               Defendants to pay a $1,000.00 fine to the State of Florida for each such violation;

       g.      Awarding such other and further relief this Court deems to be just and proper.

                                         JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable as of right by jury.

Date: July 22, 2020.

                                               Respectfully submitted,

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